                        Case 1:21-cr-00099-LM Document 1 Filed 06/07/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                  District ofDistrict
                                               __________     New Hampshire
                                                                      of __________

                  United States of America                      )
                             v.                                 )
                   MICHAEL CLEMENCE                             )      Case No.
                                                                )                 21-mj- 147-01-AJ
                                                                )
                                                                )
                                                                )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  June 4, 2021               in the county of               Strafford      in the
                       District of       New Hampshire      , the defendant(s) violated:

            Code Section                                                  Offense Description
18 USC §2252(a)(4)(B)                        Possession of Child Pornography




         This criminal complaint is based on these facts:
See the Affidavit of SA Ronald Morin




         ✔ Continued on the attached sheet.
         ’

                                                                                             /s/ Ronald Morin
                                                                                           Complainant’s signature

                                                                                   Ronald Morin, Special Agent HSI
                                                                                            Printed name and title

                    ✕ signed
Sworn to before me and ✕ ✕in✕   ✕ ✕ via teleconference.
                             my presence.
                                              ✕

Date:       Jun 7, 2021
                                                                                              Judge’s signature

City and state:                  Concord, New Hampshire                      Andrea K. Johnstone, US Magistrate Judge
                                                                                            Printed name and title
